                        Case 1:24-cv-03744-BAH             Document 17        Filed 01/03/25     Page 1 of 5



                                      IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF MARYLAND
                  RYAN DILLON-CAPPS
                                                                         Civil Action

                                           Plaintiff,                    No. 24-CV-3744
                  vs.

                  OHANA GROWTH PARTNERS, LLC et al                       Hon. Judge Hurson


                                        Defendants


                                                        NOTICE OF URGENCY

                 Plaintiff, Ryan Dillon-Capps, respectfully submits this Notice of Urgency to bring to the Court’s

                 attention the immediate and time-sensitive nature of the pending Emergency Ex Parte Hearing

                 file on December 27, 2024.

                 1      From my perspective, it seems that we share very similar views on the law and its

                 application. My actions, words, and filings over the past year are something I could not have

                 imagined undertaking just twelve months ago. However, while the content of the filings in my

                 previous and current cases is significant, it represents a lesser concern compared to larger, highly

                 sensitive issues that I feel compelled to inform you about as soon as possible. These matters

                 require explanation to convey both their nature and the reasons for their sensitivity.

                 2      Additionally, I believe state-level negotiations should already be underway to restore and

                 enhance public trust in a fair and equitable justice system. A 2019 study conducted in the

                 European Union—the first of its kind—highlighted the broad-reaching consequences of a loss of

                 trust in institutions, including the judicial system. The study revealed that such erosion of

                 confidence contributes to rising crime rates and socioeconomic damage, underscoring the

                 urgency of proactive measures to prevent such outcomes.




                                                        Notice of Urgency
.   2025-01-03                                                Page # 1 of 5                                             .
                         Case 1:24-cv-03744-BAH           Document 17         Filed 01/03/25      Page 2 of 5



                 3      The severity of the harm I face should not be minimized or prolonged. When people hear

                 the term "medical emergency," there is often a misconception that it exclusively involves calling

                 911 or trauma units to prevent immediate death. However, that is not an accurate understanding.

                 A medical emergency is the necessity for intervention to prevent severe or life-threatening harm.

                 The complexity of my situation underscores this definition. There are no studies—nor will there

                 ever be—that can accurately calculate the likelihood of my survival, as no ethical study would

                 knowingly expose subjects to a fatality rate that exceeds what is generally observed in critical

                 situations, which terminate at approximately 20-40%.

                 4      This figure, however, does not represent a 20-40% risk today or tomorrow but reflects the

                 cumulative risk before it can be assumed that I am no longer in danger of death from

                 complications. Reaching such an assumption would take years. The stark reality is that there is

                 no data to definitively determine my current risk, other than to state that it is above 20% and very

                 likely exceeds 40%. To conceptualize this, one might imagine that I am slowly bleeding out—

                 each minute without treatment brings me closer to an irreversible outcome. At some point,

                 without timely intervention, the only possible result will be death.

                 5      I am in urgent need of immediate relief for several critical issues. First, I require the

                 ability to hire a team to assist with litigation. Second, I must take steps to safeguard my life,

                 including addressing medical and other essential needs. Third, it is imperative to prevent the

                 repossession of my car. Fourth, immediate action is necessary to halt the default of other debts,

                 as I am already two months in default. Without intervention, the situation will only worsen,

                 further compounding the challenges I am facing.

                 6      I recognize that everyone, including myself, has limits. I have fulfilled my civil duties

                 and made significant sacrifices for the betterment of others, often beyond my personal capacity.




                                                       Notice of Urgency
.   2025-01-03                                                Page # 2 of 5                                             .
                         Case 1:24-cv-03744-BAH           Document 17         Filed 01/03/25     Page 3 of 5



                 However, it is now necessary for me to transition out of being the primary individual carrying

                 this forward. This transition begins with an immediate ex parte hearing to take my testimony. I

                 also respectfully request permission to notify a few observers of the hearing's time so they may

                 attend and hear my testimony. While they will not participate in the proceedings, their presence

                 will ensure that there is no distinction between the information provided to the court and what is

                 accessible to these observers. This transparency is vital to maintaining trust and clarity as I take

                 this step.

                 7       Here are several legal bases that support the request for ex parte testimony under seal.

                 Courts have inherent authority to seal testimony to protect the fairness of proceedings and

                 prevent prejudicial publicity, as established in Sheppard v. Maxwell, 384 U.S. 333 (1966). This

                 authority is particularly relevant in high-profile cases where intense media scrutiny could bias

                 jurors or compromise impartiality, necessitating sealed proceedings to preserve the integrity of

                 the judicial process.

                 8       Additionally, the Whistleblower Protection Act and similar statutes encourage the

                 disclosure of wrongdoing by safeguarding the confidentiality of testimony. This protection is

                 crucial when testimony reveals internal fraud, corruption, or illegal activities, as public

                 disclosure could deter whistleblowers or expose them to retaliation.

                 9       Under Federal Rule of Civil Procedure (FRCP) 65(b), courts may issue ex parte

                 temporary restraining orders (TROs) without notice to the opposing party when immediate and

                 irreparable harm is likely, and providing notice would exacerbate the harm. In such situations,

                 sealing testimony is necessary to prevent harm or interference by the opposing party, ensuring

                 that the relief sought is not undermined.




                                                       Notice of Urgency
.   2025-01-03                                                Page # 3 of 5                                             .
                         Case 1:24-cv-03744-BAH             Document 17       Filed 01/03/25    Page 4 of 5



                 10      The handling of classified information also justifies sealed testimony in cases involving

                 national security concerns. The Classified Information Procedures Act (CIPA) (18 U.S.C.

                 App. III) governs such scenarios, authorizing courts to seal proceedings to prevent the public

                 disclosure of sensitive government interests or classified materials.

                 11      Further, courts may seal testimony to protect a witness from threats, intimidation, or

                 harm. This is consistent with the All Writs Act (28 U.S.C. § 1651), FRCP 26(c), and the court's

                 inherent authority to ensure safety. Sealing testimony is particularly critical when the witness

                 faces credible threats of physical harm or harassment, or in cases involving criminal

                 organizations, sensitive law enforcement operations, or whistleblowers.

                 12      Case law further supports this approach. In Richmond Newspapers, Inc. v. Virginia,

                 448 U.S. 555 (1980), the Supreme Court recognized the presumption of open court proceedings

                 but allowed for exceptions when compelling interests outweigh public access. Similarly, in

                 Nixon v. Warner Communications, Inc., 435 U.S. 589 (1978), the Court upheld the sealing of

                 records or testimony to protect compelling interests such as confidentiality or safety. In In re

                 Cendant Corp., 260 F.3d 183 (3d Cir. 2001), the Court articulated specific factors for

                 determining whether court documents or testimony should be sealed, emphasizing the

                 importance of balancing competing interests.

                 13      These authorities collectively establish a robust legal foundation for requesting ex parte

                 testimony under seal, ensuring that confidentiality, fairness, and safety are preserved while

                 advancing the administration of justice.

                 14      WHEREFORE, I respectfully request that the Court:

                      1. Schedule an immediate ex parte hearing to take my testimony under seal, ensuring no
                         delay in proceeding;
                      2. Issue rulings on any items or motions presently ready for resolution;
                      3. Permit a limited number of observers to attend the hearing for transparency purposes; and




                                                      Notice of Urgency
.   2025-01-03                                                Page # 4 of 5                                           .
                       Case 1:24-cv-03744-BAH           Document 17        Filed 01/03/25        Page 5 of 5



                   4. Grant such other and further relief as the Court deems just and proper.

                                                RESPECTFULLY SUBMITTED

                 January 3, 2025                          Ryan Dillon- Digitally signed by Ryan
                                                                       Dillon-Capps
                                                                                                 1334 Maple Avenue
                                                                       Date: 2025.01.03 14:15:57 Essex, Maryland 21221
                                    /s/ Ryan Dillon-Capps Capps        -05'00'                   ryan@mxt3.com
                                    Ryan Dillon-Capps                                           703-303-1113




                                                    Notice of Urgency
.   2025-01-03                                             Page # 5 of 5                                                 .
